                                   Exhibit 6B
                 Excerpts of Deposition of Kenneth Buckfire




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City of Detroit                                                                                        August 29, 2013
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 1 asked today. I am just here principally to follow up         1 are negotiating?
 2 on certain items and ask about certain other areas           2 A. Yes.
 3 that may be germane to Syncora.                              3 Q. You also have to have at least some understanding of
 4    So, as I understood your testimony, you                   4 the legal framework in order to negotiate effectively,
 5 were the lead negotiator for the City when it came to        5 correct?
 6 negotiating the business deal, is that correct?              6 A. Yes.
 7 A. Yes.                                                      7 Q. You don't have to go to law school, right, but you do
 8 Q. Other people were going to paper the business deal in     8 have to understand some of the ins and outs of the
 9 terms of the legal terms that would embody it,               9 various legal documents that you're negotiating over,
10 correct?                                                    10 correct?
11 A. Yes.                                                     11 A. As well as any layman can be expected to do so.
12 Q. Let me ask you a question. The kickoff of the            12 Q. Now, I'd like to get a level set as to where you were
13 negotiations that led to the forbearance agreement I        13 on June 4th, 2013 as you're going into this meeting
14 understood you to say began on June 4th, correct?           14 with BAML.
15 A. Yes.                                                     15 A. And UBS.
16 Q. Who called that meeting?                                 16 Q. And UBS. So, they were there too?
17 A. Counsel to Jones Day called counsel for BAML and         17 A. Yes.
18 invited them to the meeting.                                18 Q. Okay. I want to make sure I have a level set under
19 Q. Fair to say that the meeting was held at the behest of   19 the operating assumptions that you had in your mind as
20 the City of Detroit?                                        20 you were going into the meeting to negotiate with the
21 A. Yes.                                                     21 Swap counterparties, okay?
22 Q. Did you take legal advice, you personally as the lead    22    One of your operating assumptions was that
23 negotiator for the City, did you take legal advice          23 there were termination events existing under the
24 from Jones Day in advance of the June 4 meeting?            24 Swaps, correct?
25 A. Yes.                                                     25 A. There were events of default existing under the Swaps,


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 1 Q. Would you disclose to me the legal advice you obtained    1 the collateral agreement.
 2 from them?                                                   2 Q. Okay. So, let's take a step back and let me be more
 3    MR. CULLEN: I'll instruct him not to                      3 precise.
 4 answer.                                                      4 A. Okay.
 5    MR. HACKNEY: So, if I ask questions about                 5 Q. So, there is a Swap agreement that the Swap
 6 the legal advice you had been given about the COPs           6 counterparties are parties to with the service
 7 Swap structure or various parties' rights thereunder,        7 corporations?
 8 you would instruct the witness not to answer those           8 A. Correct.
 9 questions?                                                   9 Q. You are aware of that?
10    MR. CULLEN: Right.                                       10 A. I am.
11    MR. HACKNEY: And I take it, Mr. Cullen,                  11 Q. You are also aware that there is a collateral
12 that instruction would remain true both from -- at any      12 agreement that is between among other parties the
13 time?                                                       13 City, the service corporations and the Swap
14    MR. CULLEN: Right.                                       14 counterparties, correct?
15    MR. HACKNEY: Not just with respect to the                15 A. Yes.
16 June 4 meeting?                                             16 Q. Now, at the time you're going into the June 4 meeting,
17    MR. CULLEN: Precisely.                                   17 one of your operating assumptions was that there were
18    BY MR. HACKNEY:                                          18 termination events under the Swap that would give the
19 Q. Okay. Let me ask you, Mr. Buckfire, I'm going to         19 Swap counterparties the right to terminate?
20 speculate, perhaps not wildly, that you've negotiated       20    MR. CULLEN: Objection. Foundation. I
21 a few deals in your lifetime.                               21 think he said default events.
22 A. Yes.                                                     22    MR. HACKNEY: He said default events under
23 Q. Isn't it fair to say as a negotiator, you have to have   23 the collateral agreement. I'm trying to be precise
24 an understanding of the financial needs and desires of      24 about --
25 your client as well as the counterparty with whom you       25 A. No, I was focused on the cash issue that would be at


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 1 the City is precluded from taking any position               1 agreement, I believe it was dated June 18th of 2009,
 2 inconsistent with the Swap counterparties and this           2 there is attached as an exhibit to that a letter from
 3 applies through March 1st, 2014 when the Chapter 9           3 the Michigan Gaming Control Board saying that they
 4 plan is filed --                                             4 were okay with the arrangements embodied in the
 5 A. Yes.                                                      5 collateral agreement.
 6 Q. Is there going to be another time where the City can      6 Q. Do you know the date of the letter?
 7 challenge the liens as invalid once the Chapter 9 plan       7 A. I believe it was the same date as the agreement.
 8 is filed?                                                    8 Q. My next question I believe someone may have alluded to
 9    MR. CULLEN: I object to the form of the                   9 but I don't know that we got this far. You said that
10 question but you can answer if you can --                   10 you assumed that the liens were valid in your
11    BY MS. FORDE:                                            11 negotiations, correct?
12 Q. Do you see that this agreement forfeits the City's       12 A. Yes.
13 right to challenge any liens after the Chapter 9 plan       13 Q. Did you also understand that the lien arose solely
14 is filed?                                                   14 from the collateral agreement itself?
15 A. I don't see that.                                        15 A. That's my understanding.
16 Q. Can you tell me why you don't see it that way?           16 Q. Okay. And as far as the lien -- look at my last page
17 A. Well, I didn't write this agreement.                     17 of notes here -- did you discuss with anyone whether
18 Q. Is it your understanding that after March 1st the City   18 pledging the casino revenue was permissible under the
19 has another opportunity to challenge anything related       19 Michigan Gaming Act or was the letter the only thing
20 to this agreement?                                          20 that was relied upon?
21 A. It's not my understanding.                               21     MR. CULLEN: Objection to the extent that
22 Q. Okay.                                                    22 it calls for privileged conversations, where we have
23 A. I don't know.                                            23 directed no inquiry between himself and Jones Day.
24 Q. Okay. Do you recognize there's a possibility then        24     MS. GREEN: And that is my question so is
25 that the City could be stuck with paying a very large       25 he not going to answer that?


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 1 figure after the Chapter 9 plan and have no ability to       1     MR. CULLEN: If he can find in his memory a
 2 challenge it if -- at some certain stage regardless of       2 nonprivileged conversation that affects --
 3 the validity of those liens?                                 3     THE WITNESS: With Jones Day, impossible.
 4 A. That's a possibility.                                     4     MR. CULLEN: Not with Jones Day but with
 5 Q. Okay.                                                     5 somebody else, a nonprivileged conversation, you can
 6    MS. FORDE: Thank you. No further                          6 answer with respect to that.
 7 questions.                                                   7     BY MS. GREEN:
 8    MS. GREEN: Good afternoon, my name is                     8 Q. Do you have a nonprivileged conversation that you can
 9 Jennifer Green. I just have a few questions.                 9 recall regarding whether or not you discussed with
10    THE WITNESS: May I ask who you represent,                10 anyone whether pledging the casino revenue was
11 Counsel?                                                    11 permissible under the Michigan Gaming Act?
12    MS. GREEN: Police and Fire Retirement                    12 A. No.
13 System and the General Retirement System.                   13     MS. GREEN: Thanks. That's my only
14    THE WITNESS: And you are with what law                   14 question. Thank you.
15 firm?                                                       15     MS. NEWBURY: Good afternoon, Mr. Buckfire.
16    MS. GREEN: Clark Hill.                                   16 My name is Karen Newbury. I'm with Schiff Hardin, and
17    EXAMINATION                                              17 I represent DepfaBank as agent for DFS WertManagement.
18    BY MS. GREEN:                                            18     THE WITNESS: Can you say that really fast
19 Q. I had a hard time hearing down there. I may have         19 twice?
20 written this down wrong. I thought I heard you say          20     MS. NEWBURY: I said it really fast once.
21 that you had received a letter from or the City had         21 So, that will be enough.
22 received a letter from the Michigan Gaming Control          22     THE WITNESS: Thank you.
23 Board saying that it was okay to pledge the casino          23     EXAMINATION
24 funds.                                                      24     BY MS. NEWBURY:
25 A. Well, if you look at the original collateral             25 Q. You've testified earlier today that you were the


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                                                               1                      CERTIFICATE OF NOTARY
 1 individual largely responsible for the negotiation of
                                                               2   STATE OF MICHIGAN )
 2 the business terms of the forbearance agreement,
                                                               3                        ) SS
 3 correct?
                                                               4   COUNTY OF WAYNE)
 4 A. Yes.
                                                               5
 5 Q. So, you are familiar with and perhaps even designed
 6 the optional termination provisions?                        6                      I, NORA MORRISSY, certify that this

 7 A. Yes.                                                     7        deposition was taken before me on the date

 8 Q. So, if I ask you to explain to me the way that the       8       hereinbefore set forth; that the foregoing questions

 9 termination amount will be calculated with all the          9       and answers were recorded by me stenographically and

10 accompanying definitions such as optional termination      10       reduced to computer transcription; that this is a

11 notice on Page 11 of the agreement, then mid-market        11       true, full and correct transcript of my stenographic

12 amount and optional termination amount on Page 14, you     12       notes so taken; and that I am not related to, nor of

13 could walk me through this in plain English without        13       counsel to, either party nor interested in the event

14 any trouble, right?                                        14        of this cause.
15 A. That's a bold statement. I'll do my best.               15
16 Q. Would you please try?                                   16
17 A. Okay. Well, the calculation of the termination amount   17
18 is not an easy quantitative exercise because pursuant      18
19 to the underlying agreement which is not in front of       19
20 me today so I can't refer you to it, you're supposed       20
21 to go and seek bids in the market from dealers to find     21
22 out what the value of the Swap is, and then you figure     22                         NORA MORRISSY, CSR-2642
23 out from that what the termination amount is.              23                        Notary Public,
24    So, it's not a simple calculation that you              24                        Wayne, County, Michigan.
25 can just do mathematically on Bloomberg. You could         25        My Commission expires: 9-13-13


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 1 get to a pretty good answer because everyone looks at
 2 the same LIBOR curves but it is a matter of market
 3 checking.
 4 Q. So, it's your understanding that the optional
 5 termination amount is to be determined on the optional
 6 termination date which is the date that the City gives
 7 notice, is that correct?
 8 A. That's my understanding.
 9    MS. NEWBURY: Thank you, that's all.
10    (Discussion held off the record at
11    3:24 p.m.)
12    (Back on the record at 3:24 p.m.)
13    MR. HACKNEY: I think we are done.
14    VIDEO TECHNICIAN: This concludes today's
15 deposition. The time is 3:24 p.m. We are off the
16 record.
17    (The deposition was concluded at 3:24 p.m.
18    Signature of the witness was not requested by
19    counsel for the respective parties hereto.)
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